     Case: 1:23-cv-16245 Document #: 41 Filed: 09/16/24 Page 1 of 1 PageID #:176

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Carrie Scheuerman
                                         Plaintiff,
v.                                                       Case No.: 1:23−cv−16245
                                                         Honorable Heather K. McShain
Central States Areas Pension Fund
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, September 16, 2024:


         MINUTE entry before the Honorable Heather K. McShain: Telephonic status
hearing held on 09/16/2024. Parties report that they are on track to complete fact
discovery by the current deadline of 10/04/2024 [24]. Should that change, the party
seeking an extension is to file a motion to extend the fact discovery deadline establishing
good cause for the request and indicating whether the motion is opposed or unopposed.
Joint status report due by 10/07/2024 to update the Court on the following: (a) confirming
that fact discovery is complete; (b) whether the parties intend to pursue expert discovery
and, if so, a proposed schedule for its completion; (c) whether the parties wish to set a
settlement conference and, if so, given that this is a consent case, whether the parties
prefer to have a different judge preside over the settlement conference; (d) if the parties do
not intend to pursue expert discovery or a settlement conference, whether the parties wish
to set a disposition motion schedule or trial date; and (e) any other matters the parties wish
to raise with the Court. Mailed notice. (pk, )




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